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                                                                             Chris Daniel - District Clerk Harris County
                                                                                               Envelope No. 22010981
                                                                                                     By: Walter Eldridge
                                                                                              Filed: 1/23/2018 4:02 PM

                               CAUSE NO. _______________

KAO LEE YANG, Individually, and obo, §                      IN THE DISTRICT COURT OF
S.V. & T.V., Minors & MARCUS WILSON  §
       Plaintiff,                    §
                                     §                      ___th JUDICIAL DISTRICT
vs.                                  §
                                     §
W L CRANE REPAIR, INC. & T&T MARINE, §                      HARRIS COUNTY, TEXAS
INC., & EXPRESS PROFESSIONAL         §
SERVICES, INC.                       §
       Defendants.                   §                      JURY TRIAL DEMANDED

                           PLAINTIFF’S ORIGINAL PETITION

TO THIS HONORABLE COURT:

       Plaintiffs Kao Lee Yang, individually, and on behalf of her minor children, S.V. and

T.V., and Marcus Wilson file this Original Petition against Defendants T&T Offshore, Inc. and

WL Crane Repair, Inc. and respectfully show this Honorable Court the following:

                                    Summary of this Case

       On September 20, 2017, Chi Vong and Blake Carlisle were working for Express

Professional Services at the T&T Offshore facility in Galveston. This facility was leased to OSG

Lightering. T&T Offhsore is a subsidiary of the Teichman Group, LLC. Teichman is an

international provider of marine services to companies across the globe. Plaintiffs had only

begun working at this facility the day before. On the day of the incident, OSG Lightering was

offloading and backloading a Cheramie Marine vessel at the T&T owned facility. OSG and

Cheramie were using a T&T Marine crane and crane operator. This crane was supplied by WL

Crane Repair, Inc. At approximately 11am on September 20, a crane toppled over on top of Mr.

Vong and Mr. Carlisle during the shift, killing them both. The crane was being operated without

its outriggers extended, making the crane extremely dangerous to use. Alternatively, the crane

                                                                               PLAINTIFF'S
                                                                                                      exhibitsticker.com




                                                                                 EXHIBIT

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was defective and not in a safe working condition. Mr. Vong left behind a young wife and two

small children. Mr. Carlisle left behind a grieving father. But for the egregious conduct of the

Defendants, this preventable accident would not have occurred.

         Plaintiffs seek more than $50 million from the Defendants.

                                                I.
                                      Discovery Control Plan

         Plaintiff intends to conduct discovery under Level 2.

                                                II.
                                              Parties

         Plaintiff Kao Lee Yang is a resident of Texas. Ms. Yang is the mother of minors SV and

TV. She was the wife of Chi Vong, deceased. She brings these claims individually and on

behalf of her minor children.

         Plaintiff Marcus Wilson is a resident of Texas. Mr. Wilson is the father of Blake

Carlisle.

         Defendant WL Crane Repair, Inc. is a domestic corporation doing business in Texas.

Defendant can be served via its registered agent in Texas, Wayne Long, 5206 N. Main, Baytown,

TX 77521.

         Defendant T&T Offshore, Inc. is a domestic for profit corporation doing business in

Texas.      Defendant can be served via its registered agent in Texas, Deborah Busby, 9738

Teichman Road, Galveston, TX 77554.

                                             III.
                                     Venue and Jurisdiction

         Plaintiffs seek damages in excess of $75,000.00, exclusive of interest and costs; however,

federal courts lack subject matter over this action, as there is no federal question and there is

incomplete diversity of citizenship due to the presence of a plaintiff and a defendant who are



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both residents and citizens of Texas. Removal would thus be improper. No party is asserting

any claims arising under the Constitution, treaties, or laws of the United States. Venue is proper

in this County as at least one Defendant maintains a principal office here.

                                                IV.
                                               Facts

       This case arises from negligence that occurred at Mr. Vong and Mr. Carlisle’s place of

work. An improperly placed and operated crane was operating at the T&T Offshore facility on

September 20, 2017. The crane, an 80 ton Tadano GT 800XL, overturned while operating free

on wheels with a fair bit of boom extended. This crane was supplied by WL Crane Repair. It

was defective and not in good or safe working order. The crane fell over sideways, and,

according to local reports, its boom landed on Mr. Vong and Mr. Carlisle. These two men

eventually died from their injuries.

                                              V.
                                        Causes of Action

Negligence – T&T Offshore

       Plaintiff incorporates the preceding paragraphs of this Petition as if set forth fully below.

       Defendants owned and operated the crane. The crane was placed negligently and was

being operated negligently. Specifically, Defendants breached their duty in the following ways:

       1.    Causing, or permitting to be caused, a crane collapse;

       2.      Failing to maintain a safe work place;

       3.      Failing to have a reliable system to prevent the incident;

       4.      Failing to operate the crane in a safe and prudent manner;

       5.      Failing to exercise reasonable and prudent care in the operations which were
               occurring at the facility on the date of the incident;

       6.      Failing to implement, follow, and enforce proper operations procedures;



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       7.      Failing to keep a proper lookout;

       8.      Failing to implement, follow, and enforce proper safety procedures;

       9.      Failing to properly inspect, maintain and equip the crane in a prudent manner;

       10.     Failing to implement, follow, and enforce proper hazard analysis;

       11.     Failing to properly operate the crane;

       12.     Failing to properly train and staff members operating the Crane;

       13.     Failing to properly supervise those operating the Crane;

       14.     Failing properly maintain the Crane;

       15.     Failing to properly inspect the Crane;

       16.     Failure to properly stabilize the Crane.

       Defendants’ breach of these duties, one or a combination thereof, proximately caused

injuries brought forth by the Plaintiff.

       The acts of negligence committed by Defendants’ agents, servants, and/or employees

arose directly out of and was done in prosecution of the business that they were employed to do

by Defendant, who is therefore liable under the doctrine of respondeat superior for their

negligent actions.

Product Liability/Strict Liability – WL Crane Repair

       Plaintiffs brings claims against Defendant under the Texas Products Liability Act (Tex.

Civ. Prac. & Rem. Code § 82.001, et seq.). WL Crane Repair designed, manufactured, and/or

supplied the crane that injured Plaintiffs and it failed to operate as intended. Upon information

and belief, the crane at issue was not substantially changed after it left control of any defendant.

Further, the crane was in a defective condition, and was unreasonably dangerous to all users of

the crane, and, Defendant, as the designer, manufacturer, and/or supplier is strictly liable for the

physical harm caused to Plaintiffs. Plaintiffs allege that the crane at issue was defective as



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manufactured and/or designed and these defects legally caused the crane to topple over.

Additionally, Defendant failed to warn the owners, operators, and/or lessees of the crane that the

crane in question would not work as intended.

       Plaintiffs allege that the crane at issue had a design defect, a manufacturing defect, and a

marketing defect. Plaintiffs allege there was a safer alternative design, that the crane deviated

from its planned specifications, and that the product lacked an adequate warning.

       Plaintiffs would also show that Defendant acted willingly, wantonly, maliciously and

recklessly when it breached the duties owed to Plaintiffs. Accordingly, Plaintiffs also seeks an

award of punitive damages.


       Additionally, Plaintiffs alleges that Defendant sold a product in a defective condition that

was unreasonably dangerous to the end user, and that the product caused harm to Plaintiff.

Defendant was engaged in the business of selling these products; cranes. The cranes were

expected to and did reach the user without substantial change in the condition from which it was

sold. Plaintiff also alleges that Defendant failed to provide adequate warnings or instructions,

and this lack of warnings and instructions rendered the product unreasonably dangerous.

Defendant knew or should have known of the potential risk of harm presented by the product but

marketed it without providing adequate warning to the user or instructions for its safe use.

Defendant knew or had reason to know that the crane was likely to be dangerous for the use for

which it is supplied, and had no reason to believe that consumer will realize the dangerous

condition. Further, Defendant did not provide adequate warnings to Plaintiffs or instructions for

its safe use, and Defendant failed to exercise reasonable care to make the product safe for the use

for which it was supplied.




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JOINT AND SEVERAL LIABILITY

       Under Texas law of strict products liability, retailers and manufacturers are jointly and

severally liable for injuries caused by defective products. As such, Plaintiffs specifically pleads

joint and several liability as to all Defendants.

Gross Negligence – All Defendants

       Defendants were grossly negligent and acted with malice, as those terms are understood

under Texas law, and such conduct was a proximate cause of the occurrence and of Plaintiffs’

injuries and damages.       Defendants’ malicious and grossly negligent conduct justifies the

imposition of punitive and exemplary damages both as punishment to Defendants for their

callous disregard and as a deterrent to others from engaging in similar conduct. Plaintiffs

therefore ask for and are entitled to punitive and exemplary damages in addition to all actual

damages.

                                                VI.
                                              Damages

       As stated, Plaintiff’s injuries are extensive. The Plaintiffs in this case seeks wrongful

death damages, and survival damages on behalf of the estate. As a direct and proximate result of

the foregoing events, Plaintiffs have suffered damages in the past and, in reasonable probability,

will continue to suffer damages in the future, including physical pain and mental anguish, loss of

wages and loss of earning capacity, loss of consortium, and medical care, all for which Plaintiffs

seek recovery herein.

       All Plaintiffs seek damages for loss of services and loss of consortium.

       Plaintiffs seek all wrongful death damages allowed by Texas law.




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                                              VII.
                                       Exemplary Damages

       Plaintiffs seeks to recover exemplary damages against all Defendants based on their gross

negligence in causing the incident and resulting injuries and damages made the basis of this suit.

                                             VIII.
                                         Demand for Jury

       Plaintiffs demand a jury trial and has tendered the appropriate fee.

                                               IX.
                                     Requests for Disclosure

        Pursuant to Tex. R. Civ. P. 194, Plaintiffs requests that each Defendants disclose within

fifty (50) days of service of this Request for Disclosure, the information and/or material

described in Rule 194.2.

                                                 X.
                                               Prayer

       For these reasons, Plaintiffs asks that Defendants be cited to appear and answer, and that

they have judgment against Defendants for the following:

       a.     Actual damages for physical pain and suffering, mental anguish, physical

              disfigurement, physical impairment, medical expenses, loss of earning capacity,

              loss of consortium, wrongful death damages, survivor claim damages, and loss of

              services, within the jurisdictional limits of this Court, but no less than

              $50,000,000:

       b.     Exemplary damages;

       c.     Court costs;

       d.     Pre and post judgment interest; and

       e.     All other relief to which the Plaintiff is justly entitled.




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                                   Respectfully submitted,

                                   THE BUZBEE LAW FIRM
                                  By: /s/ Anthony G.Buzbee
                                      Anthony G. Buzbee
                                      State Bar No. 24001820
                                      tbuzbee@txattorneys.com
                                      Christopher J. Leavitt
                                      State Bar No. 24053318
                                      cleavitt@txattorneys.com
                                      JP Morgan Chase Tower
                                      600 Travis, Suite 6850
                                      Houston, Texas 77002
                                      Telephone: (713) 223-5393
                                      Facsimile: (713) 223-5909

                                   ATTORNEYS FOR PLAINTIFF




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